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             IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,               :
                                        :
      v.                                :         Case No. 21-cr-0091-RCL-01
                                        :
CRAIG MICHAEL BINGERT                   :
    Defendant.                          :


              NOTICE OF THE FILING WAIVER OF TRIAL BY
             JURY FORM BY DEFENDANT CRAIG M. BINGERT

      COMES NOW, Allen H. Orenberg, counsel for Craig M. Bingert, to

respectfully file this Notice of the Filing of Waiver of Trial by Jury Form.

      Said Waiver is attached as an Exhibit to this Notice.

                                        Respectfully Submitted,



                                            Allen H. Digitally signed by
                                                     Allen H. Orenberg

                                            Orenberg Date: 2023.04.26
                                                     16:12:00 -04'00'
                                        _________________________________
                                        Allen H. Orenberg, # 395519
                                        The Orenberg Law Firm, P.C.
                                        12505 Park Potomac Avenue, 6 th Floor
                                        Potomac, Maryland 20854
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                                        aorenberg@orenberglaw.com




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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 26th   day of April, 2021, a copy of the foregoing Notice of

the Filing of Waiver of Trial by Jury Form by Defendant Craig M. Bingert, was delivered to

case registered parties by the CM/ECF court system.




                                                Allen H.                Digitally signed by
                                                                        Allen H. Orenberg

                                                Orenberg                Date: 2023.04.26
                                                                        16:12:24 -04'00'
                                                ______________________________
                                                Allen H. Orenberg




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